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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNENSAIKHAN CHULUUNBAT,                        )
                                                )
                Plaintiff,                      )
 v.                                             )     Case No: 1:20-cv-00164
                                                )
 CAVALRY PORTFOLIO SERVICES, LLC;               )     Judge Charles P. Kocoras
 CAVALRY SPV I, LLC; EXPERIAN                   )
 INFORMATION SOLUTIONS, INC.;                   )     Magistrate Judge Young B. Kim
 EQUIFAX INFORMATION SERVICES, LLC;             )
 and TRANSUNION DATA SOLUTIONS LLC,             )
                                                )
                Defendants.                     )

                   MOTION TO WITHDRAW AS COUNSEL and
      TO EXTEND DEADLINE TO FILE REPLY IN SUPPORT OF MOTION TO DISMISS

        Pursuant to Local Rule 83.17 of the United States District Court for the Northern

District of Illinois, Defendants Cavalry Portfolio Services, LLC and Cavalry SPV I, LLC

(collectively “Cavalry”), by counsel, respectfully request that the Court terminate the

appearance of Marielise Fraioli and extend the deadline Cavalry has to submit a reply in

support of its motion to dismiss.

        1.     Marielise Fraioli is one of two attorneys with an appearance on file for

Cavalry.

        2.     Ms. Fraioli is no longer employed by Pilgrim Christakis LLP.

        3.     Cavalry will continue to be represented by Anna-Katrina S. Christakis.

        4.     In addition, due to Ms. Fraioli’s departure, Cavalry requests a 10-day

extension in which to file its reply in support of its pending motion to dismiss, from July 7th

to July 17th. Plaintiff has no objection.
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       WHEREFORE, Defendants Cavalry Portfolio Services, LLC and Cavalry SPV I, LLC

respectfully request that the Court (1) grant Marielise Fraioli leave to withdraw as one of

the attorneys of record in this action and (2) extend the deadline in which they have to

reply to their motion to dismiss until July 17, 2020.

                                                   Respectfully submitted,

                                                   CAVALRY PORTFOLIO SERVICES, LLC;
                                                   and CAVALRY SPV I, LLC,

                                           By:     /s/ Anna-Katrina S. Christakis
                                                   One of their attorneys

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                              CERTIFICATE OF SERVICE

       Anna-Katrina S. Christakis, an attorney, certifies that on July 1, 2020, she
electronically filed the foregoing Motion to Withdraw as Counsel and to Extend
Deadline to File Reply in Support of Motion to Dismiss with the Clerk of the Court using
the CM/ECF system, which will send a notification to all attorneys of record.

                                               /s/ Anna-Katrina S. Christakis




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